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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   MICHAEL ORR ,

 9                              Plaintiff,                  CASE NO. 2:20-cv-01235-RSM-BAT

10           v.                                             ORDER DISMISSING WITHOUT
                                                            PREJUDICE
11   SEATAC FEDERAL DETENTION, et al.,

12                              Defendant.

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14          Having reviewed the Report and Recommendation of the Honorable Brian A. Tsuchida,

15   United States Magistrate Judge, any objections or responses to that, and the remaining record,

16   the Court finds and ORDERS:

17          (1)     The Court ADOPTS the Report and Recommendation.

18          (2)     The matter is dismissed without prejudice.

19          (3)     The Clerk is directed to send copies of this Order to the parties.

20          Dated this 16th day of October, 2020.

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                                                    RICARDO S. MARTINEZ
23                                                  CHIEF UNITED STATES DISTRICT JUDGE



     ORDER DISMISSING WITHOUT
     PREJUDICE - 1
